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 5
                             UNITED STATES DISTRICT COURT
 6
                                        DISTRICT OF NEVADA
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 8
     UNITED STATES OF AMERICA
 9
                   Plaintiff ,                           Case No. 2:11-CR-00347-KJD-CWH
10
     v.
11                                                       ORDER
     HENRI WETSELAAR, M.D.,
12
                  Defendant.
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             Presently before the Court for consideration is the Report and Recommendation (#206) of
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     Magistrate Judge Carl W. Hoffman, Jr. entered on November 19, 2015, recommending that
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     Defendant’s motion to dismiss count 14 of the superseding indictment (#187) be denied. Defendant
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     filed an objection (#208) on November 30, 2015, to which the Government responded (#212).
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            The Court has conducted a de novo review of the record in this case in accordance with 28
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     U.S.C. § 636(b)(1) and LR IB 3-2. The Court determines that the Report and Recommendation
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     (#206) of the United States Magistrate Judge entered November 19, 2015, should be ADOPTED and
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     AFFIRMED. The Magistrate Judge correctly concluded that count 14 of the superseding indictment
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     does not lack specificity but sufficiently pleads the elements of the offense, and provides a list of
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     allegedly structured transactions, including the date, amount, and account into which the structured
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     funds were deposited. The Court is in accord with the Magistrate’s conclusion that count 14
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     sufficiently alleges Defendant’s violation of 31 U.S.C. § 5324(a)(3), fairly informs Defendant of the
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 1   charges against him, and enables Defendant to plead an acquittal or conviction in bar of future

 2   prosecutions for the same offense. Further, despite Defendant’s characterization of the evidence and

 3   authority, the Magistrate Judge’s well-reasoned analysis of the facts and law correctly determined

 4   that the superseding indictment was not duplicitous as count 14 only alleges one violation of §

 5   5324(a)(3) and not distinct and separate offenses.

 6          Accordingly, IT IS THEREFORE ORDERED that the Magistrate Judge’s Report and

 7   Recommendation (#206) entered November 19, 2015, are ADOPTED and AFFIRMED;

 8          IT IS FURTHER ORDERED that Defendant’s motion to dismiss count 14 of the superseding

 9   indictment (#187) is DENIED.

10                      25th
            DATED this _______ day of April 2016

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                                                  Kent J. Dawson
16                                                United States District Judge

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